        Case 8:24-cv-01516-DOC-DFM     Document 10    Filed 07/29/24     Page 1 of 3 Page ID
                                             #:39




 1      Jennifer Janzen                                                                 . ,~~,.
        Plaintiff, Pro Se
 2                                                                     t,:tN7RAL DISTRICT OF CALIFOR
        120 Tustin Ave, Suite C                                        BY       T         _
                                                                                                     NIA
                                                                                                DEPUTY
 3      #135
        Newport Beach, CA 92663
 4
        Email: Jen9491975@gmail
 5      Phone: 949-355-3698
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 7
 8
                              UNITED STATES DISTRICT COURT
 9
                             CENTRAL DISTRICT OF CALIFORNIA
[i I]
11                                     SANTA ANA DIVISION
12
13
        JENNIFER JANZEN,                             Civil Case No 8:24-CV-01516-JVS-
14
15                     Plaintiff,                    DFMx
16
        v.                                           1. WILLFUL VIOLATIONS OF THE
17 ;                                                 TELEPHONE CONSUMER
   I                                                 PROTECTION ACT [47 U.S.C. §227(c)]
18 BETTER DEBT SOLUTIONS LLC,a
                                                     2. NEGLIGENT VIOLATIONS OF THE
     California Limited Liability Company,
19                                                   TELEPHONE CONSUMER
     MOHAMMAD GHARAFINIA, and
                                                     PROTECTION ACT [47 U.S.C. §227(c)]
20 ALLEVIATE FINANCIAL SOLUTIONS
                                                     DEMAND FOR JURY TRIAL
     LLC, a California Limited Liability
21
     Company
22                  Defendants.
23
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28
                                    NOTICE OF DISMISSAL            1
       Case 8:24-cv-01516-DOC-DFM       Document 10     Filed 07/29/24   Page 2 of 3 Page ID
                                              #:40




 1               PLAINTIFF'S NOTICE OF DISMISSAL WITH PREJUDICE
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 3
 ~~          COMES NOW Plaintiff Jennifer Janzen, in her individual capacity, and moves to

 5     dismiss Defendants BETTER DEBT SOLUTIONS LLC,a California Limited Liability
 6
       Company, MOHAMMAD GHARAFINA,and ALLEVIATE FINANCIAL SOLUTIONS
 7
       LLC, a California Limited Liability Company, with prejudice pursuant to Rule
 8
 9 41(a)(1)(A)(i). Defendants have not made an appearance or otherwise defended the case.
10
11
       July 29, 2024,                         Respectfully submitted,
12
                                                  0
13
14
                                             Jennifer Janzen
15                                            120 Tustin Ave, Suite C
                                             #135
16 ,
                                             Newport Beach, CA 92663
17                                           jen9491975@gmail
                                             949-355-3698
18
19
20
21                                 CERTIFICATE OF SERVICE
~~~
23                   I hereby certify that on July 29, 2024, I caused a true copy of the foregoing,
24     Plaintiff's notice of Dismissal With Prejudice to be served on Better Debt Solutions
       LLC, Mohammad Gharafina, and Alleviate Financial Solutions via Brent Phillips at
25     bphillips@phillipslawcorporation.com.
26
27
28 ~
                                  NOTICE OF DISMISSAL                2
       Case 8:24-cv-01516-DOC-DFM   Document 10   Filed 07/29/24   Page 3 of 3 Page ID
                                          #:41




 1 ~ ~ July 29, 2024,                    Respectfully submitted,
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 3
                                        Jennifer Janzen
 4
                                         120 Tustin Ave, Suite C
 5                                      #135
                                        Newport Beach, CA 92663
 6
                                        jen9491975@gmail.com
 7                                      949-355-3698
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fill

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                              NOTICE OF DISMISSAL             3
